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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MOHAMED JOHN AKHTAR and LA BUCA
 RESTAURANT, INC. d/b/a SWING 46 JAZZ AND
 SUPPER CLUB,
                                Plaintiffs,
                                                                 23-CV-6585 (JGLC)
                        -against-
                                                                 ORDER
 ERIC M. EISENBERG and JOHN AND JANE
 DOES ONE THROUGH THIRTY,
                                Defendants.



JESSICA G. L. CLARKE, United States District Judge:

       Defendant Eric M. Eisenberg objects to Magistrate Judge Figueredo’s Order at ECF No.

121 granting Plaintiffs’ motion for an extension of time to serve the Amended Complaint. ECF

No. 122. “Magistrate judges are afforded broad discretion in resolving nondispositive disputes

and reversal is appropriate only if their discretion is abused.” In re Hulley Enterprises Ltd., 400

F. Supp. 3d 62, 70 (S.D.N.Y. 2019) (internal citation and quotation marks omitted). The standard

of review is “clearly erroneous or contrary to law.” Id. In other words, to reject Judge

Figueredo’s decision, this Court must find a “definite and firm conviction that a mistake has been

committed,” or find that the ruling “fails to apply or misapplies relevant statutes, case law, or

rules of procedure.” Id. (cleaned up). Neither is the case here. Judge Figueredo’s decision to

grant an extension of time will remain undisturbed. And, Defendant’s request to strike filings

related to the order and objection are denied as moot.
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      The Clerk of Court is directed to terminate ECF No. 127.

Dated: February 26, 2025
       New York, New York

                                                      SO ORDERED.




                                                      JESSICA G. L. CLARKE
                                                      United States District Judge
